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8                         UNITED STATES DISTRICT COURT

9                       EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,            2: 13-cr-00300 GEB
12                Plaintiff,              REQUEST AND [PROPOSED] ORDER FOR
                                          APPOINTMENT OF COUNSEL FOR
13        v.                              APPEAL OF DENIAL OF MOTION TO
                                          SET ASIDE DETENTION ORDER
14   Richard D. Hemsley,
15                Defendant.
16

17        On November 8, 2017, this Court denied Mr. Hemsley’s motion

18   to set aside the detention order.       Mr. Hemsley wishes to appeal

19   this denial, but trial counsel, David Fischer, does not wish to

20   handle the appeal.    The Federal Defender’s Office has contacted

21   Sandra Gillies, who currently represents Mr. Hemsley on appeal

22   from the denial of his motion for evidentiary hearing under

23   United States v. McIntosh, 833 F.3d 1163 (9th Cir. 2016) and she

24   is agreeable to representing Mr. Hemsley on this additional

25   appeal.

26   /////

27   /////

28   /////
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1         GOOD CAUSE APPEARING pursuant to the Criminal Justice Act,

2    the Court appoints Sandra Gillies to represent Richard Hemsley on

3    the appeal from the denial of the motion to set aside the

4    detention order.

5         Attorney David Fischer will not handle the appeal but will

6    remain counsel of record for all ensuing matters in the district

7    court, including status conferences, evidentiary hearing, and

8    trial.

9         Dated:   November 13, 2017

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